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 4
     Attorneys for Plaintiff
 5   NELSON CHILIN
 6
 7                              UNITED STATES DISTRICT COURT
 8                             CENTRAL DISTRICT OF CALIFORNIA
 9
     NELSON CHILIN,                                  Case No.:
10
                  Plaintiff,                         COMPLAINT FOR INJUNCTIVE
11                                                   RELIEF AND DAMAGES FOR DENIAL
           vs.                                       OF CIVIL RIGHTS OF A DISABLED
12                                                   PERSON IN VIOLATIONS OF
13                                                   1. AMERICANS WITH DISABILITIES
                                                     ACT, 42 U.S.C. §12131 et seq.;
14   GRACIELA MORENO D/B/A
     PUPUSERIA Y CREPERIA EL MESON;                  2. CALIFORNIA’S UNRUH CIVIL
15
     KATHERINE K. CALDEIRA; and DOES                 RIGHTS ACT;
16   1 to 10,                                        3. CALIFORNIA’S DISABLED
                                                     PERSONS ACT;
17                Defendants.
                                                     4. CALIFORNIA HEALTH & SAFETY
18                                                   CODE;
19                                                   5. NEGLIGENCE
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23
           Plaintiff NELSON CHILIN (“Plaintiff”) complains of Defendants GRACIELA
24
     MORENO D/B/A PUPUSERIA Y CREPERIA EL MESON; KATHERINE K.
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     CALDEIRA; and DOES 1 to 10 (“Defendants”) and alleges as follows:
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 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is a
 3   paraplegic and is substantially limited in his ability to walk. Plaintiff requires the use of a
 4   wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a restaurant
 7   (“Business”) located at or about 345 W. Foothill Blvd., Rialto, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
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 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, San Bernardino
 8   County, California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about March of 2025, Plaintiff went to the Business.
11         11.    The Business is a restaurant business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with his ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide proper van accessible space designated for the
22                       persons with disabilities as there were no “NO PARKING” markings,
23                       blue borderlines, or blue hatched lines painted on the parking surface
24                       to indicate the presence of an access aisle.
25                b.     Defendants failed to maintain the parking space designated for
26                       persons with disabilities to comply with the federal and state
27                       standards. Defendants failed to maintain the mark on the space with
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 1                       the International Symbol of Accessibility, resulting in the paint
 2                       becoming severely deteriorated, hindering visibility.
 3                c.     Defendants failed to comply with the federal and state standards for
 4                       the parking space designated for persons with disabilities. Defendants
 5                       failed to provide an access aisle with level surface slope.
 6         14.    These barriers and conditions denied Plaintiff full and equal access to the
 7   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 8   patronize the Business; however, Plaintiff is deterred from visiting the Business because
 9   his knowledge of these violations prevents him from returning until the barriers are
10   removed.
11         15.    Based on the violations, Plaintiff alleges, on information and belief, that
12   there are additional barriers to accessibility at the Business after further site inspection.
13   Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
14   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
15         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
16   knew that particular barriers render the Business inaccessible, violate state and federal
17   law, and interfere with access for the physically disabled.
18         17.    At all relevant times, Defendants had and still have control and dominion
19   over the conditions at this location and had and still have the financial resources to
20   remove these barriers without much difficulty or expenses to make the Business
21   accessible to the physically disabled in compliance with ADDAG and Title 24
22   regulations. Defendants have not removed such barriers and have not modified the
23   Business to conform to accessibility regulations.
24                                     FIRST CAUSE OF ACTION
25          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
26         18.    Plaintiff incorporates by reference each of the allegations in all prior
27   paragraphs in this complaint.
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 1         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
 2   shall be discriminated against on the basis of disability in the full and equal enjoyment of
 3   the goods, services, facilities, privileges, advantages, or accommodations of any place of
 4   public accommodation by any person who owns, leases, or leases to, or operates a place
 5   of public accommodation. See 42 U.S.C. § 12182(a).
 6         20.    Discrimination, inter alia, includes:
 7                a.    A failure to make reasonable modification in policies, practices, or
 8                      procedures, when such modifications are necessary to afford such
 9                      goods, services, facilities, privileges, advantages, or accommodations
10                      to individuals with disabilities, unless the entity can demonstrate that
11                      making such modifications would fundamentally alter the nature of
12                      such goods, services, facilities, privileges, advantages, or
13                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
14                b.    A failure to take such steps as may be necessary to ensure that no
15                      individual with a disability is excluded, denied services, segregated or
16                      otherwise treated differently than other individuals because of the
17                      absence of auxiliary aids and services, unless the entity can
18                      demonstrate that taking such steps would fundamentally alter the
19                      nature of the good, service, facility, privilege, advantage, or
20                      accommodation being offered or would result in an undue burden. 42
21                      U.S.C. § 12182(b)(2)(A)(iii).
22                c.    A failure to remove architectural barriers, and communication barriers
23                      that are structural in nature, in existing facilities, and transportation
24                      barriers in existing vehicles and rail passenger cars used by an
25                      establishment for transporting individuals (not including barriers that
26                      can only be removed through the retrofitting of vehicles or rail
27                      passenger cars by the installation of a hydraulic or other lift), where
28                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).



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 1                d.     A failure to make alterations in such a manner that, to the maximum
 2                       extent feasible, the altered portions of the facility are readily
 3                       accessible to and usable by individuals with disabilities, including
 4                       individuals who use wheelchairs or to ensure that, to the maximum
 5                       extent feasible, the path of travel to the altered area and the
 6                       bathrooms, telephones, and drinking fountains serving the altered
 7                       area, are readily accessible to and usable by individuals with
 8                       disabilities where such alterations to the path or travel or the
 9                       bathrooms, telephones, and drinking fountains serving the altered area
10                       are not disproportionate to the overall alterations in terms of cost and
11                       scope. 42 U.S.C. § 12183(a)(2).
12         21.    Where parking spaces are provided, accessible parking spaces shall be
13   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
14   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
15   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
16   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
17   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
18         22.    For the parking spaces, access aisles shall be marked with a blue painted
19   borderline around their perimeter. The area within the blue borderlines shall be marked
20   with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
21   with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
22   be painted on the surface within each access aisle in white letters a minimum of 12 inches
23   (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
24   11B-502.3.3.
25         23.    Here, Defendants failed to provide a proper access aisle as there were no
26   “NO PARKING” markings, blue borderlines, or blue hatched lines painted on the parking
27   surface.
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 1         24.    The surface of each accessible car and van space shall have surface
 2   identification complying with either of the following options: The outline of a profile
 3   view of a wheelchair with occupant in white on a blue background a minimum 36” wide
 4   by 36” high (914 mm x 914 mm). The centerline of the profile view shall be a maximum
 5   of 6 inches (152 mm) from the centerline of the parking space, its sides parallel to the
 6   length of the parking space and its lower side or corner aligned with the end of the
 7   parking space length or by outlining or painting the parking space in blue and outlining
 8   on the ground in white or a suitable contrasting color a profile view of a wheel chair with
 9   occupant. See CBC § 11B-502.6.4, et seq.
10         25.    Here, Defendants failed to maintain the International Symbol of
11   Accessibility painted on the surface as required, resulting in the markings becoming
12   severely deteriorated, hindering visibility.
13         26.    Under the 1991 Standards, parking spaces and access aisles must be level
14   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
15   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
16   shall be part of an accessible route to the building or facility entrance and shall comply
17   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
18   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
19   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
20   directions. 1991 Standards § 4.6.3.
21         27.    Here, the access aisle is not level with the parking spaces. Under the 2010
22   Standards, access aisles shall be at the same level as the parking spaces they serve.
23   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
24   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
25   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
26         28.    A public accommodation shall maintain in operable working condition those
27   features of facilities and equipment that are required to be readily accessible to and usable
28   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).



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 1         29.      By failing to maintain the facility to be readily accessible and usable by
 2   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 3   regulations.
 4         30.      The Business has denied and continues to deny full and equal access to
 5   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6   discriminated against due to the lack of accessible facilities, and therefore, seeks
 7   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8   by individuals with disabilities.
 9                                 SECOND CAUSE OF ACTION
10                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11         31.      Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         32.      California Civil Code § 51 states, “All persons within the jurisdiction of this
14   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15   national origin, disability, medical condition, genetic information, marital status, sexual
16   orientation, citizenship, primary language, or immigration status are entitled to the full
17   and equal accommodations, advantages, facilities, privileges, or services in all business
18   establishments of every kind whatsoever.”
19         33.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21   for each and every offense for the actual damages, and any amount that may be
22   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24   attorney’s fees that may be determined by the court in addition thereto, suffered by any
25   person denied the rights provided in Section 51, 51.5, or 51.6.
26         34.      California Civil Code § 51(f) specifies, “a violation of the right of any
27   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28   shall also constitute a violation of this section.”



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 1         35.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, facilities, privileges, or services by
 3   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5   51 and 52.
 6         36.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8   damages as specified in California Civil Code §55.56(a)-(c).
 9                                 THIRD CAUSE OF ACTION
10                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11         37.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         38.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14   entitled to full and equal access, as other members of the general public, to
15   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20   places of public accommodations, amusement, or resort, and other places in which the
21   general public is invited, subject only to the conditions and limitations established by
22   law, or state or federal regulation, and applicable alike to all persons.
23         39.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24   corporation who denies or interferes with admittance to or enjoyment of public facilities
25   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27   the actual damages, and any amount as may be determined by a jury, or a court sitting
28   without a jury, up to a maximum of three times the amount of actual damages but in no



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 1   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2   determined by the court in addition thereto, suffered by any person denied the rights
 3   provided in Section 54, 54.1, and 54.2.
 4         40.    California Civil Code § 54(d) specifies, “a violation of the right of an
 5   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6   constitute a violation of this section, and nothing in this section shall be construed to limit
 7   the access of any person in violation of that act.
 8         41.    The actions and omissions of Defendants alleged herein constitute a denial
 9   of full and equal accommodation, advantages, and facilities by physically disabled
10   persons within the meaning of California Civil Code § 54. Defendants have
11   discriminated against Plaintiff in violation of California Civil Code § 54.
12         42.    The violations of the California Disabled Persons Act caused Plaintiff to
13   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14   statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                FOURTH CAUSE OF ACTION
16                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
17         43.    Plaintiff incorporates by reference each of the allegations in all prior
18   paragraphs in this complaint.
19         44.    Plaintiff and other similar physically disabled persons who require the use of
20   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
21   such facility is in compliance with the provisions of California Health & Safety Code §
22   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
23   provisions of California Health & Safety Code § 19955 et seq.
24         45.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
25   that public accommodations or facilities constructed in this state with private funds
26   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
27   Title 1 of the Government Code. The code relating to such public accommodations also
28   require that “when sanitary facilities are made available for the public, clients, or



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 1   employees in these stations, centers, or buildings, they shall be made available for
 2   persons with disabilities.
 3          46.    Title II of the ADA holds as a “general rule” that no individual shall be
 4   discriminated against on the basis of disability in the full and equal enjoyment of goods
 5   (or use), services, facilities, privileges, and accommodations offered by any person who
 6   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 7   Further, each and every violation of the ADA also constitutes a separate and distinct
 8   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 9   award of damages and injunctive relief pursuant to California law, including but not
10   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
11                                   FIFTH CAUSE OF ACTION
12                                         NEGLIGENCE
13          47.    Plaintiff incorporates by reference each of the allegations in all prior
14   paragraphs in this complaint.
15          48.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17   to the Plaintiff.
18          49.    Defendants breached their duty of care by violating the provisions of ADA,
19   Unruh Civil Rights Act and California Disabled Persons Act.
20          50.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21   has suffered damages.
22                                     PRAYER FOR RELIEF
23          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24   Defendants as follows:
25          1.     For preliminary and permanent injunction directing Defendants to comply
26   with the Americans with Disability Act and the Unruh Civil Rights Act;
27          2.     Award of all appropriate damages, including but not limited to statutory
28   damages, general damages and treble damages in amounts, according to proof;



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 1         3.     Award of all reasonable restitution for Defendants’ unfair competition
 2   practices;
 3         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4   action;
 5         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6         6.     Such other and further relief as the Court deems just and proper.
 7                              DEMAND FOR TRIAL BY JURY
 8         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 9   demands a trial by jury on all issues so triable.
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11   Dated: June 3, 2025                     SO. CAL. EQUAL ACCESS GROUP
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13
14                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
15                                                  Attorneys for Plaintiff
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                                           COMPLAINT - 12
